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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           DENISE S.,                                    :
                                                         :
                              Plaintiff,                 :      CIVIL ACTION FILE NO.
                                                         :      1:17-cv-000921-AJB
                        v.                               :
                                                         :
           COMMISSIONER, SOCIAL                          :
           SECURITY ADMINISTRATION,1                     :
                                                         :
                              Defendant.                 :

                                    O R D E R A N D O P I N I O N2

                 Plaintiff brought this action pursuant to § 205(g) of the Social Security Act (“the

           Act”), 42 U.S.C. § 405(g), to obtain judicial review of the final decision of the

           Commissioner of the Social Security Administration (“the Commissioner”) denying her




                 1
                          Nancy A. Berryhill was the Acting Commissioner of Social Security
           beginning January 23, 2017. However, her acting status ended as a matter of law
           pursuant to the Federal Vacancies Reform Act, 5 U.S.C. § 3345 et seq. Pursuant to Fed.
           R. Civ. P. 17(d), a public officer who sues or is sued in an official capacity may be
           designated by official title rather than by name. Since Ms. Berryhill no longer is the
           Acting Commissioner, the Clerk is DIRECTED to identify Defendant by the official
           title rather than by name.
                 2
                         The parties have consented to the exercise of jurisdiction by the
           undersigned pursuant to 28 U.S.C. § 636(c) and Rule 73 of the Federal Rules of Civil
           Procedure. (See Dkt. Entries dated March 14 & 15, 2017). Therefore, this Order
           constitutes a final Order of the Court.


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           application for Disability Insurance Benefits (“DIB”).3 For the reasons set forth below,

           the final decision of the Commissioner is REVERSED and REMANDED to the

           Commissioner for further consideration of Plaintiff’s claims consistent with this Order

           and Opinion.

           I.     PROCEDURAL HISTORY

                  On December 23, 2013, Plaintiff filed her application for DIB alleging a

           disability onset date of August 25, 2013. [Record (hereinafter “R”) at 221]. Her

           application was denied initially on April 24, 2014, and upon reconsideration,

           August 25, 2014. [R156, R165]. Thereafter, Plaintiff filed a written request for

           hearing. [R168]. Plaintiff appeared and testified at a hearing before an Administrative


                  3
                         Title XVI of the Act, 42 U.S.C. § 1381, et seq., provides for Supplemental
           Security Income (“SSI”) for the disabled, whereas Title II of the Social Security Act
           provides for federal DIB, 42 U.S.C. § 401, et seq. The relevant law and regulations
           governing the determination of disability under a claim for DIB are nearly identical to
           those governing the determination under a claim for SSI. Wind v. Barnhart,
           133 Fed. Appx. 684, 690 n.4 (11th Cir. June 2, 2005) (citing McDaniel v. Bowen,
           800 F.2d 1026, 1031 n.4 (11th Cir. 1986)). Title 42 U.S.C. § 1383(c)(3) renders the
           judicial provisions of 42 U.S.C. § 405(g) fully applicable to claims for SSI. In general,
           the legal standards to be applied are the same regardless of whether a claimant seeks
           DIB, to establish a “Period of Disability,” or to recover SSI. However, different
           statutes and regulations apply to each type of claim. Many times parallel statutes and
           regulations exist for DIB and SSI claims. Therefore, citations herein should be
           considered to refer to the appropriate parallel provision as context dictates. The same
           applies to citations of statutes or regulations found in quoted court decisions.

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           Law Judge (“ALJ”) on November 5, 2015, where she was represented by an attorney

           and a vocational expert (“VE”) testified. [R112].

                 On June 3, 2016, the ALJ issued a decision denying Plaintiff’s application for

           disability benefits. [R72-82]. Plaintiff then filed an appeal with the Appeals Council

           (“AC”), which denied review on November 15, 2016, making the ALJ’s decision the

           final decision of the Commissioner. [R9].

                 Plaintiff subsequently filed this action on March 13, 2017, seeking review of the

           Commissioner’s decision. [Docs. 3, 5]. The answer and transcript were filed on

           November 6, 2017. [Docs. 7, 8]. On August 29, 2017, Plaintiff filed a brief in support

           of her petition for review of the Commissioner’s decision, [Doc. 11], and on

           September 28, 2017, the Commissioner filed a response in support of the decision,

           [Doc. 14], to which Plaintiff replied, [Doc. 13]. The matter is now before the Court

           upon the administrative record, and the parties’ pleadings and briefs,4 and it is

           accordingly ripe for review pursuant to 42 U.S.C. § 405(g).




                 4
                        Neither party requested oral argument. (See Dkt.).

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           II.      PLAINTIFF’S CONTENTIONS

                    Plaintiff claims that the ALJ’s decision is not supported by substantial evidence

           because she failed to properly evaluate Plaintiff’s credibility and all of Plaintiff’s

           impairments and, therefore, wrongly rejected her pain and limitations. [Doc. 11 at 5].

           III.     STATEMENT OF FACTS

                    A.    Background

                    Plaintiff was born in 1956 and was 59 years old on the alleged onset date.

           [R221]. Plaintiff completed high school and has past relevant work as a secretary,

           receptionist, accounting assistant, and a caregiver. [R131-32]. She initially alleged

           disability due to deep vein thrombosis (“DVT”) and inferior vena cava (“IVC”) placed

           in her chest. [R271].

                    B.    Lay Testimony

                    Plaintiff testified that, before she injured her back at work in June 2013, she

           worked as a caregiver through a company that sent her to patient’s homes to assist with

           activities such as bathing, walking, moving in and out of wheelchairs, light

           housekeeping, and meal preparation. [R113-14]. She did not have any special training

           for this position but she did do some lifting of patients who were paraplegic. [R114].

           She testified that she injured her back in June 2013 and went to the emergency room;

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           was bedridden in July; went for follow-up care to doctors referred by her former

           employer (as it was considered a worker’s compensation injury); and was hospitalized

           in August 2013. [R115].

                 Upon questioning from the ALJ, Plaintiff responded that she is unable to work

           because of her DVT, which causes swelling and pain in her left leg from the foot

           through the groin and the lower back, making if difficult to walk, sit, and, sometimes,

           lie down. [R116-17]. She also testified that she passes out from time to time, for

           unknown reasons, and thinks it may be due to her heart (as this has been an issue since

           childhood), which her medical providers referred to as syncope and which occurred

           most recently in March 2014. [R117]. She testified that she continues to have DVT

           and an IVC filter in her chest, and, in December 2014, clotting between her knee and

           groin was detected. [Id.]. She testified that without support hose, her leg, feet, and

           groin become terribly engorged, but, with the hose, she still experiences pain and

           spasms, which she attributes to DVT. [Id.]. She explained that she takes Baclofen for

           her DVT and Xarelto as an anticoagulant. [R118-19].

                 Plaintiff further testified that her low back pain comes and goes two or three

           times a week, lasting a few days. [R119]. She testified that it does not take a lot to

           trigger it, such as sitting with little or no support or trying to get out of a chair, which

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           then causes tension and pain running down her leg. [R119-20]. She described that to

           relieve this pain, she lies down and takes pain medication, such as Oxycodone or

           Gabapentin, which make her sleepy, and therefore, she did not take medication the day

           of the hearing. [R120-21]. She also testified that she uses Lidocaine patches and had

           an epidural steroid injection planned for November, after her hearing. [R121].

                 Plaintiff also testified that she has been going to therapy for her shoulder and her

           doctors scheduled therapy for April 2016. [R118]. She testified that she was told by

           doctors that she had osteoarthritis in the rotator cuff and bursitis in her knee and

           possibly some in her back. [R129]. She further claimed that she has carpal tunnel in

           her right hand which causes numbness in her thumb and first two fingers and a feeling

           of the muscle pulling through the arm. [R122]. She testified that this causes gripping

           problems, especially with repetitive motions, such as preparing food and handwriting.

           [R123]. She also testified that she had neck problems between the hairline and

           shoulders, which also causes a headache. [Id.].

                 Plaintiff indicated that the combination of her medications causes grogginess and

           that Tramadol, in particular, causes dizziness, so she only takes it at night. [R124].

           When she experiences these side effects, she sleeps. [Id.]. She has been seeing the

           doctor, including rotator cuff therapy, an average of three of four times a month. [Id.].

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           She testified that she experiences pain six out of seven days in the week so she limits

           her activities, spending most of her time reclining and even using a potty to avoid

           moving to the bathroom. [R125]. She stated she reclines because, with the swelling,

           her heart doctor (Dr. Aber Mhed) advised her that she needs to have her leg over her

           heart. [R126]. She reported that she experiences swelling daily and, two or three times

           a week, the stocking does not fully compress it. [Id.]. She acknowledged that her

           primary care doctor had advised her to exercise three times a day to lose weight so, at

           one point, she walked 15 minutes a day. [R127].

                 Plaintiff also testified that she has ongoing renal issues and stool incontinence

           since August 2013. [R128]. She explained that she wears support to prevent soiling

           herself. [Id.]. She testified that she is seldom free of pain and her pain averages a six

           out of ten three times a week, but is more severe the other days. [R129]. She indicated

           that she takes her medication as prescribed. [R130].

                 C.     Medical Records

                        1.     Treatment for Musculoskeletal and Neurological Conditions

                 In June 2013, Plaintiff presented to the emergency room complaining of low

           back pain over the previous two days that radiated into the left buttock and leg. [R383].

           On examination, she had a full range of motion in the back and mild positive straight

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           leg raise test5 on the left and an MRI6 was conducted. [R382, 384]. She was diagnosed

           with acute low back pain, back strain, and acute left sciatica.7 [R382-83]. Her

           symptoms improved with treatment and she was discharged with a prescription for

           Ultram,8 Prednisone,9 and Valium,10 advised to apply moist heat to the back, ice the left

                 5
                         The straight leg raise test is used to place tension on the sciatic nerve to
           aid in the diagnosis of the presence of nerve root compression of the lower lumbar
           nerve roots (L4-S1). The clinician notes the symptoms produced and the degree of hip
           flexion at which these symptoms occur. A positive result is when the patient’s familiar
           leg symptoms are reproduced between 30 and 70 degrees of hip flexion. Straight Leg
           R a i s e ,                  S c i e n c e                       D i r e c t ,
           https://www.sciencedirect.com/topics/neuroscience/straight-leg-raise (last visited
           9/18/18).
                 6
                       Magnetic resonance imaging (“MRI”) uses a large magnet and radio waves
           to look at organs and structures inside the body. MedlinePlus, MRI Scans,
           http://www.nlm.nih.gov/medlineplus/mriscans.html (last visited 9/18/83).
                 7
                        Sciatica is pain that radiates along the path of the sciatic nerve, which
           branches from the lower back down each hip and thigh. It typically affects one side of
           the body and is caused by a herniated disc, bone spur on or narrowing of (stenosis) the
           spine, which compresses the nerve, causing pain and numbness in the affected leg.
           S c i a t i c a          O v e r v i e w ,            M a y o          C l i n i c ,
           https://www.mayoclinic.org/diseases-conditions/sciatica/symptoms-causes/syc-2037
           7435 (last visited 9183/18).
                 8
                        Ultram (tramadol) is in a class of medications called opiate (narcotic)
           analgesics and is used to relieve moderate to moderately severe pain. MedlinePlus,
           Tramadol, http://medlineplus.gov/druginfo/meds/a695011.html (last visited 9/18/18).
                 9
                       Prednisone is a corticosteroid sometimes used to treat certain types of
           a r t h r i t i s .        M e d l i n e P l u s ,        P r e d n i s o n e ,
           https://www.nlm.nih.gov/medlineplus/druginfo/meds/a601102.html (last visited

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           buttock, and follow up with orthopedics. [Id.]. In November 2013, Plaintiff again

           reported pain from sciatica and was prescribed hydrocodone.11 [R434-35].

                 In March 2014, Plaintiff reported that she had developed constant right shoulder

           pain that radiated down to her right thumb, numbness in her hand, and muscle spasms.

           [R439]. Examination revealed tenderness in the right subacromial groove12; positive

           Neer,13 Tinel,14 Hawkins,15 and median nerve16 compression signs; numbness; tingling;


           9/18/18).
                 10
                        Diazepam, also known by the brand name Valium, is typically used to
           relieve anxiety, muscle spasms, and seizures.           MedlinePlus, Diazepam,
           https://medlineplus.gov/druginfo/meds/a682047.html (last visited 9/18/18).
                 11
                      Hydrocodone is a narcotic that relieves pain and coughing. See
           M e d l i n e P l u s ,                  H y d r o c o d o n e ,
           http://www.nlm.nih.gov/medlineplus/druginfo/meds/a601006.html (last visited
           9/18/18).
                 12
                        The acromioclavicular joint (“AC joint”) is a joint at the top of the
           shoulder where the collarbone (clavicle) meets the shoulder blade (scapula). Johns
           Hopkins Sports Medicine Patient Guide to “AC” Acromioclavicular Joint Problems,
           Johns Hopkins Medicine, http://www.hopkinsortho.org/ac_joint.html (last visited
           9/18/18). The subacromial space is between the AC joint and the underlying muscle
           and tendon that form part of the rotator cuff. Subacromial Space, University of Bristol,
           https://www.ole.bris.ac.uk/bbcswebdav/institution/Faculty%20of%20Health%20Sci
           ences/MB%20ChB%20Medicine/Year%203%20MDEMO%20-%20Hippocrates/Hi
           ppocrates/shoulder%20pain%20etutorial/subacromial_space.html (last visited 9/18/18)
                 13
                        The Neer Test is commonly used in orthopedic examinations to test for
           subacromial impingement. The Neer test is considered positive if pain is reported in
           the anterior – lateral aspect of the shoulder. Physical Therapy Web, Neer Test –

                                                      9


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           160 degrees of flexion17; and a very limited range of motion. [R440, 487]. She was




           O r t h o p e d i c          S h o u l d e r          E x a m i n a t i o n ,
           http://physicaltherapyweb.com/neer-test-orthopedic-shoulder-examination/ (last visited
           9/18/18).
                 14
                         The Tinel test is a common test for carpal tunnel syndrome. In the Tinel
           test, the doctor taps on or presses on the median nerve in the patient’s wrist. The test
           is considered positive if the result is tingling in the fingers. Nat’l Inst. of Neurological
           Disorders & Stroke, Carpal Tunnel Syndrome Fact Sheet,
           https://www.ninds.nih.gov/Disorders/Patient-Caregiver-Education/Fact-
           Sheets/Carpal-Tunnel-Syndrome-Fact-Sheet (last visited 9/18/18).
                 15
                          The Hawkins Kennedy Test is one of the most common special tests used
           in orthopedic physical assessment and examination of the shoulder.
           The Hawkins Kennedy test is considered positive if pain is reported in the superior –
           lateral aspect of the shoulder. Physical Therapy Web, Hawkins Kennedy Test –
           O r t h o p e d i c           S h o u l d e r          E x a m i n a t i o n ,
           http://physicaltherapyweb.com/hawkins-kennedy-test-orthopedic-shoulder-examinat
           ion/ (last visited 9/18/18).
                 16
                         The median nerve, colloquially known as the “eye of the hand,” is one of
           the three major nerves of the forearm and hand. It courses from the brachial plexus in
           the axilla to innervate the intrinsic muscles of the hand. Median nerve entrapment
           syndrome is a mononeuropathy that affects movement of or sensation in the hand. It
           is caused by compression of the median nerve in the elbow or distally in the forearm
           or wrist, with symptoms in the median nerve distribution. Carpal tunnel syndrome
           (CTS), the best-known and most common form, is defined as a constellation of
           symptoms associated with compression of the median nerve at the wrist. Median Nerve
           Entrapment, https://emedicine.medscape.com/article/1242387-overview (last visited
           9/18/18)
                 17
                        Flexion refers to the bending of the spine “so that the concavity of the
           curve looks forward.” PDR Med. Dictionary 663 (1st ed. 1995).

                                                       10


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           diagnosed with right carpal tunnel and rotator cuff syndrome and an MRI was

           recommended, as was nighttime splinting. [R440].

                 An October 2014 x-ray showed minimal degenerative changes in the Plaintiff’s

           AC joint and some calcification adjacent to the trochanter18 representing calcific

           tendonitis.19 [R524]. Plaintiff was taking Flexeril20 for lumbago21 and applying

           Diclofenac22 gel to ease her right shoulder pain. [R515]. A November 2014 x-ray




                 18
                         The trochanter is the bone at the top end of the thighbone (femur). Am.
           Academy of Orthopaedic Surgeon s O r t h o I n f o , H i p B u r s i t is ,
           http://orthoinfo.aaos.org/topic.cfm?topic=A00409 (last visited 9/18/18).
                 19
                         Calcific tendonitis is caused by calcium deposits on a muscle or tendon
           that may cause pain or discomfort. Bethany Cadman, What is calcific tendonitis and
           what causes it, Apr. 23, 2018, https://www.medicalnewstoday.com/articles/321583.php
           (last visited 9/18/18).
                 20
                      Flexeril (cyclobenzaprine) is a skeletal muscle relaxant. MedlinePlus,
           Cyclobenzaprine, https://medlineplus.gov/druginfo/meds/a682514.html (last visited
           9/18/18).
                 21
                        Lumbago describes pain in the mid and lower back; the term does not
           specify the cause of the pain. PDR Med. Dictionary 998 (1st ed. 1995).
                 22
                        Diclofenac is in a class of medications called nonsteroidal anti-
           inflammatory drugs (“NSAIDs”). It works by stopping the body’s production of a
           substance that causes pain.       MedlinePlus, Diclofenac Transdermal Patch,
           https://medlineplus.gov/druginfo/meds/a611001.html (last visited 9/18/18).

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           showed multilevel cervical23 spondylosis24 most advanced at C5-C6 and minimal

           anterolisthesis25 of C3 and C4 which persists with flexion and reduces on extension.

           [R525].

                 A January 2015 MRI of Plaintiff’s right shoulder revealed a rotator cuff tear and

           osteoarthritis in her right shoulder. [R532-33]. A February MRI of Plaintiff’s lumbar

           spine26 showed multilevel degenerative changes of the lumbar spine, including

           foraminal27 and extra-foraminal disc protrusions on the left at the L2-L3 and L3-L4



                 23
                         Cervical refers to the cervical spine which is made up of the first seven
           vertebrae in the spine, starting below the skull and ending in the thoracic spine (upper
           back).      Univ. of Maryland Med. Ctr., Cervical Spine Anatomy,
           https://www.umms.org/ummc/health-services/orthopedics/services/spine/patient-gui
           des/cervical-spine-anatomy (last visited 9/18/18).
                 24
                       “Spondylosis” refers to stiffening vertebra and is “often applied
           nonspecifically to any lesion of the spine of a degenerative nature.” PDR Med.
           Dictionary 1656 (1st ed. 1995).
                 25
                        In anterolisthesis, the upper vertebrae slips forward on the one below it.
           C e d a r s - S i n a i ,                  A n t e r o l i s t h e s i s ,
           https://www.cedars-sinai.edu/Patients/Health-Conditions/Anterolisthesis.aspx (last
           visited 9/18/18).
                 26
                        Lumbar spine refers to the portion of the vertebral column from the middle
           back to the pelvis. See PDR Med. Dictionary 998 (lumbar)(1st ed. 1995).
                 27
                          Foraminal refers to the nerve opening where a nerve root leaves the spinal
           canal. MedlinePlus, Foraminotomy, https://medlineplus.gov/ency/article/007390.htm
           (last visited 9/18/18).

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           levels, encroaching on the exiting left L2 and L3 nerve roots and a disc protrusion and

           free disc fragment at L4-L5 contributing to moderate spinal canal stenosis and moderate

           right and severe left neural foraminal stenosis.28 [R535]. Plaintiff was referred to an

           occupational therapist, who she began to see in March 2015. [R589].

                 In late March 2015, Plaintiff reported pain on a scale of six out of ten and, on

           objective examination, had a limited range of motion in her mid back and right

           shoulder, and tested mildly positive for Speeds,29 Hawkins, and Empty Can30 tests.

           [R589-90]. Her occupational therapist concluded that she was she was “making gradual

           progress with therapy” and benefitting “from conservative treatment . . . to decrease

           pain and to restore full ROM/function of” her right shoulder. [R590].


                 28
                        Stenosis causes narrowing in the spinal canal, which in turn puts pressure
           on the nerves and spinal cord and can cause pain. MedlinePlus, Spinal Stenosis,
           https://medlineplus.gov/spinalstenosis.html (last visited 9/18/18).
                 29
                          The Speeds Test involves pressing down on the patient’s forearm while
           the elbow is fully extended and in front of the body at 60 degrees flexion and the
           patient tries to resist. A positive test is one where the patient feels pain in the elbow
           and mid indicative of biceps tendon instability or tendonitis.
           https://physicaltherapyweb.com/speeds-test-long-head-biceps-tendinitis-orthopedic-
           shoulder-examination/ (last visited 9/18/18).
                 30
                        The empty can test is used to assess whether the shoulder is impinged
           and the strength of the muscle and tendon.                                    See
           http://physicaltherapyweb.com/empty-can-test-shoulder-orthopedic-examination/ (last
           visited 9/18/18).

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                 In July 2015, Plaintiff reported that, because her pain improved for several

           months, she stopped taking Oxycodone31 because she did not like the way it made her

           feel but, because she still needed something for her sciatic nerve pain, was “taking

           Tylenol like it is candy.” [R622]. On examination, there were no abnormal findings.

           [R623]. Nevertheless, she was diagnosed with controlled hypertension, chronic

           anticoagulation (but with resolved bleeding and vitals stable), lumbar spinal stenosis

           and herniated disc, and sciatica on the right side. [R624]. She was prescribed

           Tramadol and Baclofen.32 [Id.].

                 In October 2015, Plaintiff continued to report back, joint, and neck pain and was

           diagnosed with degenerative disc disease, carpal tunnel syndrome, and right rotator cuff

           sprain. [R672]. Later, on examination, she had: painful forward flexion and abduction;




                 31
                      Oxycodone is a narcotic used to relieve pain. MedlinePlus, Oxycodone,
           http://www.nlm.nih.gov/medlineplus/druginfo/meds/a682132.html (last visited
           9/18/18).
                 32
                        Baclofen acts on the spinal-cord nerves and decreases the number and
           severity of muscle spasms caused by multiple sclerosis or spinal cord diseases, relieves
           pain, and improves muscle movement.                       MedlinePlus, Baclofen,
           http://www.nlm.nih.gov/medlineplus/druginfo/meds/a682530.html (last visited
           9/18/18).

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           positive Hawkin’s and supraspinatus33 tests; tenderness with palpation at the right heel

           bone; and positive tenderness with palpation at the pes anserine bursa.34 [R675]. She

           was assessed with plantar fasciitis, pes anserine bursitis, right rotator cuff tear, right

           subacrominal bursitis, and degenerative disc disease of the cervical spine. She was

           referred to occupational therapy for her rotator cuff and a pain clinic for a cervical

           injection. [R675-76]. Clearance was needed from cardiology that she could go off

           Xarelto35 before administering an epidural steroid injection36 on her left L4-L5 and L5-

                 33
                       Supraspinatus is the smallest of the four muscles which comprise the
           Rotator Cuff of the shoulder joint specifically in the supraspinatus fossa.
           Supraspinatus, https://www.physio-pedia.com/Supraspinatus (last visited 9/18/18).
                 34
                          The Pes Anserine is the knee tendon and the bursa are the small, jelly-like
           sacs between bones and soft tissues at various joint around the body. Pes anserine
           bursitis is inflammation of the bursa between the shinbone (tibia) and three tendons of
           the hamstring muscle, occurring when the bursa become irritated and produce excess
           fluid, causing them to swell and put pressure on adjacent parts of the knee. Pes
           Anserine            (Knee        Tendon)           Bursitis,           OrthoInfo,
           https://orthoinfo.aaos.org/en/diseases--conditions/pes-anserine-knee-tendon-bursitis
           (last visited 9/18/18).
                 35
                       Xarelto (also known as Rivaroxaban) is an anticoagulant, used to prevent
           blood clots from forming due to irregular heartbeat or after certain hip or knee
           replacement surgeries and to treat blood clots (such as in deep vein thrombosis or
           pulmonary embolus) and prevent the formation of blood clots.
           https://www.webmd.com/drugs/2/drug-156265/xarelto-oral/details (last visited
           9/18/18).
                 36
                        An interlaminar epidural steroid injection, often referred to simply as an
           “epidural injection,” involves placing the needle into the back of the epidural space and

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           S1 to treat pain associated with stenosis, and she was prescribed Lidocaine patches37

           and Gabapentin,38 and the Baclofen, Diclofenac, and Tramadol were continued.

           [R677].




           delivering the steroid over a wider area. KnowYourBack.org, Epidural Steroid
           I        n       j      e        c         t       i   o     n        s       ,
           https://www.spine.org/KnowYourBack/Treatments/InjectionTreatmentsforSpinalPain/
           EpiduralSteroidInjections.aspx (last visited 9/18/18).
                 37
                        Lidocaine transdermal patches are used as a local anesthetic. They work
           by stopping nerves from sending pain signals. See MedlinePlus, Lidocaine
           Transdermal, http://www.nlm.nih.gov/medlineplus/druginfo/meds/a603026.html (last
           visited 9/18/18).
                 38
                         Gabapentin, also known by the brand name Neurontin, is often used to
           help control certain types of seizures in patients who have epilepsy. Gabapentin is also
           used to relieve the pain of postherpetic neuralgia (the burning, stabbing pain or aches
           that may last for months or years after an attack of shingles) and restless legs syndrome.
           MedlinePlus, Gabapentin, https://medlineplus.gov/druginfo/meds/a694007.html (last
           visited 9/18/18).

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                 After the ALJ’s decision, Plaintiff submitted records to the AC. [R16-66]. These

           records reflect that, in August 2016, Plaintiff received medial branch blocks39 in her

           lumbar spine at L3, L4, and L5. [R729-30].

                        2.     Treatment for Renal, Cardiovascular, and Lymphatic Issues

                 Plaintiff was taken to the emergency room in August 2013 by her family after she

           displayed an altered mental status and generalized weakness which worsened over the

           previous three days. [R384]. She also complained of low back and leg pain, which

           caused problems moving her left lower extremity. [R355]. On examination, she was

           in mild to moderate distress; unable to raise her arms overhead due to weakness; and

           had pain in her left leg. [R384]. Laboratory data (including a blood work up and




                 39
                         Medial branch block is an injection of local anesthetic placed outside the
           joint space near the nerve that supplies the joint called the medial branch. The injection
           may or may not also include a steroid. Medial branch blocks are typically ordered for
           patients who have pain primarily in their back coming from arthritic changes in the
           facet joints or mechanical low back pain. Brigham & Women’s Hosp., Facet & Medial
           B       r     a      n      c     h               B       l     o      c     k     s      ,
           http://www.brighamandwomens.org/Departments_and_Services/anesthesiology/Pai
           n/Patients/blocks1.aspx (last visited 9/18/18).

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           Doppler) showed DVT in her left leg. [Id.]. A CT scan40 revealed a hard, three

           centimeter nodule in her right inferior thyroid lobe. [R365-66, 388].

                  Plaintiff was diagnosed with acute renal failure with possible underlying kidney

           disease, and left leg swelling with DVT, hypercalcemia,41 hyperthyroidism, and urinary

           tract infection. [R384]. The nodule was removed in surgery. [R386]. In addition, a

           new IVC filter with a catheter was placed. [R371]. She was admitted to the in-patient

           hospital physician and treated with intravenous fluids, Rocephrin,42 and Heparin43

                  40
                       Computed tomography (“CT”) imaging uses x-ray equipment to make
           cross-sectional pictures of the body.               MedlinePlus, CT Scans,
           http://www.nlm.nih.gov/medlineplus/ctscans.html (last visited 9/18/18).
                  41
                        Hypercalcemia is a condition in which the calcium level in the blood is
           above normal. Too much calcium in blood can weaken bones, create kidney stones, and
           interfere with how the heart and brain work. Hypercalcemia is usually a result of
           overactive parathyroid glands. Hypercalcemia Overview, Mayo Clinic,
           https://www.mayoclinic.org/diseases-conditions/hypercalcemia/symptoms-causes/sy
           c-20355523 (last visited 9/18/18).
                  42
                                Rocephrin (ceftriaxone) is used to treat a wide variety of bacterial
           infections. This medication belongs to a class of drugs known as cephalosporin
           a n t i b i o t i c s . I t w o r k s b y s t o p p i n g t h e g r o w th o f b a c t e r i a .
           https://www.webmd.com/drugs/2/drug-9768/rocephin-intravenous/details (last visited
           9/18/18).
                  43
                         Heparin is an anticoagulant used to decrease the clotting ability of the
           blood and help prevent harmful clots from forming in blood vessels. This medicine is
           sometimes called a blood thinner, although it does not actually thin the blood. Heparin
           will not dissolve blood clots that have already formed, but it may prevent the clots from
           becoming larger and causing more serious problems.

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           (which was later discontinued because her platelet levels dropped). [Id., R386]. She

           was later treated with Coumadin,44 which was therapeutic, as her International

           Normalized Ratio (“INR”)45 came within the therapeutic and slightly supratherapeutic

           range. [Id.]. She was prescribed Soma,46 Percocet,47 Meloxicam,48 Flexeril, and


           https://www.mayoclinic.org/drugs-supplements/heparin-intravenous-route-subcutan
           eous-route/description/drg-20068726 (last visited 9/18/18).
                 44
                      Coumadin (warfarin) is a blood thinner that works by decreasing the
           clotting ability of the blood. MedlinePlus, Warfarin,
           http://www.nlm.nih.gov/medlineplus/druginfo/meds/a682277.html (last visited
           9/18/18).
                 45
                        International Normalized Ratio (“INR”) is a standardized method of
           reporting the effects of an oral anticoagulant such as warfarin on blood clotting. There
           is a very small difference between the lowest dose that gives a good effect and the
           highest dose before side effects (which may be serious) are experienced.
           https://www.myvmc.com/investigations/blood-clotting-international-normalised-rati
           o-inr/#C2 (last visited 9/18/18).
                 46
                        Soma is a brand name for carisoprodol, a muscle relaxant used with rest,
           physical therapy, and other measures to relax muscles and relieve pain and discomfort
           caused by strains, sprains, and other muscle injuries. See MedlinePlus, Carisoprodol,
           http://www.nlm.nih.gov/medlineplus/druginfo/meds/a682578.html (last visited
           9/18/18).
                 47
                        Percocet is a combination of oxycodone and acetaminophen and is a
           narcotic analgesic used to relieve moderate-to-severe pain. MedlinePlus, Oxycodone,
           https://medlineplus.gov/druginfo/meds/a682132.html (last visited 9/18/18).
                 48
                        Mobic (meloxicam) is in a class of medications called nonsteroidal
           anti-inflammatory drugs (“NSAIDs”) and is often used to relieve pain, tenderness,
           swelling, and stiffness caused by osteoarthritis and rheumatoid arthritis. MedlinePlus,

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           Methylprednisolone49 for her back and leg pain. [R355]. She stabilized and was

           discharged with instructions to follow up with her primary care doctor, blood work, and

           the doctor who removed the node. [R349, 355-56].

                 Plaintiff went to physical therapy in September 2013 for left lower extremity

           edema50 and lymphedema.51 [R397]. On examination, the volume in her left leg was

           36.55 percent greater than that in her right leg and her left leg had decreased sensation,

           abnormal skin color, a hard, shiny, and spongy texture, severe thickening of her

           connective tissues (fibrosis), and a decreased functional range of motion in her ankle,



           Meloxicam, https://medlineplus.gov/druginfo/meds/a601242.html (last visited 9/18/18).
                 49
                        Medrol (methylprednisolone) is a corticosteroid commonly used to relieve
           inflammation and to treat certain forms of arthritis. MedlinePlus, Methylprednisolone,
           https://medlineplus.gov/druginfo/meds/a682795.html (last visited 9/18/18).
                 50
                        Edema refers to swelling caused by fluid in the body’s tissues. It usually
           occurs in the feet, ankles, and legs, but it can involve the entire body. MedlinePlus,
           Edema, https://medlineplus.gov/edema.html (last visited 9/18/18).
                 51
                       Lymphedema refers to swelling that generally occurs in one of the arms
           or legs. Lymphedema is most commonly caused by the removal of or damage to
           lymph nodes as a part of cancer treatment. It results from a blockage in
           lymphatic system, which is part of the immune system. The blockage prevents lymph
           fluid from draining well, and the fluid buildup leads to swelling. While there is
           presently no cure for lymphedema, it can be managed with early diagnosis and
           d i l i g e n t       c a r e     o f     t h e     a f f e c t e d     l i m b .
           https://www.mayoclinic.org/diseases-conditions/lymphedema/symptoms-causes/syc
           -20374682 (last visited 9/18/18).

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           knee, and hip. [R397-98]. She reported that the swelling in her left leg affected her

           mobility and made it difficult to bathe, wear shoes, cook, and clean without elevating

           her and that her pain was a three out of ten. [R398]. A September 2013 follow-up

           noted that Plaintiff still had a clot, edema in her left leg from the toes to the thigh, and

           was using a walker and receiving therapy twice a week for left leg DVT. [R436-37].

                 In November 2013, after several weeks of therapy, she still had left leg edema

           but was able to wear a shoe on her left foot, was wearing compression stockings, had

           slight swelling and fibrosis and was encouraged to continue to bandage her leg at night

           and/or purchase a night-time garment. [R418-24, 434].

                 In March 2014, Plaintiff still had edema when she presented to the emergency

           room complaining of chest pain intensifying over the previous week. [R459].

           Although her INR and creatinine52 levels were notable, there were no other

           abnormalities and it was noted that she was due for her Coumadin check. [Id.]. It was

           also noted that Plaintiff’s prolonged inactivity due to her sciatica had provoked DVT.

           [Id.]. In addition, an unspecified kidney and ureter disorder were mentioned. [R465].


                 52
                        Creatinine is a chemical waste molecule generated from creatine, which
           is a molecule used for muscles’ energy production, that is filtered by the kidneys and
           evacuated as urine.             Charles Patrick David, MD, Creatinine,
           https://www.medicinenet.com/creatinine_blood_test/article.html (last visited 9/18/18).

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           Later that month, her INR was found inadequate and increases were prescribed.

           [R488]. That same month, Plaintiff reported passing out due to lightheadedness when

           she got up from sleep to use the bathroom; she was diagnosed with hypertension and

           placed on Amlodipine53 daily. [R487].

                 In October 2014, Plaintiff’s lymphedema was improving. [R513]. However, by

           December 2014, she was hospitalized after going to the emergency room for chest pains

           and, on examination, had left lower extremity swelling with 1+ edema and a Doppler

           study showed a non-occlusive DVT. [R545-50]. Coumadin was continued. [R552].

                 From September 2013 through November 2014, Plaintiff continued to have

           varying INR rates, requiring ongoing anticoagulant treatment, and her INR was low,

           requiring increased doses of anticoagulant medication. [R426-33, 441-42, 464, 488,

           527-29]. It was still high in January 2015, [R655], when she also reported leg

           cramping, [R558], and was diagnosed with “some renal insufficiency, but not to the

           point that it should generate” the high potassium levels it did in her recent emergency

           room visit, [R560]. However, by February 2015, her INR level was high, [R653], and

                 53
                       Amlodipine is a calcium channel blocker that is used alone or in
           combination with other medications to treat high blood pressure and chest pain. See
           M e d l i n e P l u s ,                        A m l o d i p i n e ,
           http://www.nlm.nih.gov/medlineplus/druginfo/meds/a692044.html (last visited
           9/18/18).

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           it was noted that she was largely sedentary because of knee osteoarthritis and morbid

           obesity, [R568]. By April 2015, her renal function was “back to normal range.”

           [R592].

                        3.    Consultative Examinations

                 No consultative examinations of Plaintiff were ordered or performed. [R138,

           149]. Instead, on April 19, 2014, Abraham Oyewo, M.D., a state agency medical

           consultant, reviewed Plaintiff’s medical records up until that point. [R138-43].

           Dr. Oyewo concluded that one or more of Plaintiff’ medically determinable

           impairments could be reasonably expected to produce her pain or symptoms, but her

           statements about their intensity, persistence, and functionally limiting effect were not

           substantiated by the objective medical evidence (specifically, her treatment and

           medications). [R139]. Dr. Oyewo noted that there was no indication of medical or

           other opinion evidence in record. [Id.] Dr. Oyewo concluded that, based on her

           lymphedema, Plaintiff could occasionally lift or carry (including upward pulling)

           20 pounds occasionally and 10 pounds frequently; stand, sit, or walk for a total of six

           hours in an eight-hour workday; had limited pushing and pulling in her left lower

           extremities; and no postural or manipulative limitations. [R140].




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                   On August 25, 2014, Bato Amo, M.D., a state agency medical consultant,

           reviewed Plaintiff’s medical records up until that point. [R149-52]. Dr. Amo’s

           conclusions were identical to Dr. Oyewo’s, except that he concluded Plaintiff would

           be limited to frequent right overhead reaching. [R150-51].

                   D.    Vocational-Expert Testimony

                   The VE described Plaintiff’s past work as follows: accounting assistant and a

           receptionist, both sedentary, semi-skilled jobs; secretary, sedentary, skilled job;

           caregiver, medium, semi-skilled job, performed at the medium to heavy exertional level

           by Plaintiff; and personal caregiver, light, unskilled job. [R131-32]. The VE

           concluded that if limited to light work with frequent overhead reaching, Plaintiff could

           perform all her past work except that of a caregiver (which was medium or heavy).

           [R132]. There would be no jobs if Plaintiff needed to elevate one or both legs above

           heart level during the workday, [R132], nor could she perform her past work if her

           medications caused drowsiness sufficient to require her to lie down and take two

           30 minute naps (in addition to an hour for lunch) or go to the doctor three of four times

           a month for a full day. [R133-34].

           IV.     ALJ’S FINDINGS OF FACT

                   The ALJ made the following findings of fact:

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             1.    The claimant meets the insured status requirements of the
                   Social Security Act through June 30, 2017.

             2.    The claimant has not engaged in substantial gainful activity
                   since August 25, 2013, the alleged onset date
                   (20 CFR 404.1571 et seq.).

             3.    The claimant has the following impairments which are
                   severe in combination: obesity and right rotator cuff
                   syndrome (20 CFR 404.1520(c)).

             ...

             4.    The claimant does not have an impairment or combination of
                   impairments that meets or medically equals the severity of
                   one of the listed impairments in 20 CFR Part 404, Subpart P,
                   Appendix 1 (20 CFR 404.1520(d), 404.1525, 404.1526).

             ...

             5.    After careful consideration of the entire record, I find that the
                   claimant has the residual functional capacity to perform light
                   work as defined in 20 CFR 404.1567(b) except she can only
                   frequently perform overhead reaching with the dominant
                   arm.

             ...

             6.    The claimant is capable of performing her past relevant work
                   as an accounting assistant, secretary, receptionist and
                   personal caregiver. This work does not require the
                   performance of work-related activities precluded by the
                   claimant’s residual functional capacity (20 CFR 404.1565).

             ...

                                                  25


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                 7.     The claimant has not been under a disability, as defined in
                        the Social Security Act, from August 25, 2013, through the
                        date of this decision (20 CFR 404.1520(f)).

           [R74-81].

                 In her evaluation of Plaintiff’s alleged impairments, the ALJ found that

           Plaintiff’s obesity and right rotator cuff syndrome were “determined by medically

           acceptable evidence including signs, symptoms, and laboratory findings.” [R74]. The

           ALJ noted that Plaintiff was diagnosed with DVT, on long term use of anticoagulants,

           resolved with medications, sciatica with lumbar stenosis and disc bulges with no

           stenosis, essential hypertension, and right carpal tunnel syndrome. [R75]. However,

           the ALJ found that Plaintiff’s allegations of “chronic kidney disease with

           lymphedema . . . was not seen in the medical records and is therefore not a medically

           determinable impairment. As there is no showing that these impairments cause any

           more than a minimal effect on the ability to do basic physical work activities, they are

           found to be non-severe.” [Id.].

                 In evaluating Plaintiff’s residual functional capacity (“RFC”), the ALJ noted that,

           although Plaintiff alleged that her heart physician advised her that she needed to elevate




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           her leg when it swells, “there are no medical records of evidence to justify the need to

           elevate the leg above the heart as claimant testified.” [R76].

                  The ALJ summarized the records and concluded that Plaintiff’s “medically

           determinable impairments could reasonably be expected to cause some of the alleged

           symptoms; however . . [her] statements concerning the intensity, persistence and

           limiting effects of these symptoms are not entirely consistent with the medical evidence

           of record for the reasons explained in this decisions.” [R80]. The ALJ noted that

                  there are no significant exertional or non-exertional work-related
                  limitations present in the record that would totally preclude the claimant
                  from working on a sustained basis. The medical record is void of any
                  objective clinical evidence to substantiate the claimant’s contention that
                  she is physically limited as she claims. She remains capable of several
                  activities of daily living. There is no clinical medical evidence in the
                  record that suggests that the claimant is incapable of any work activity.
                  The claimant’s complaints coupled with the longitudinal medical evidence
                  of record fails to indicate that she is precluded from work activities.

                  As for the opinion evidence, state agency medical consultants determined
                  that the claimant would be capable of light work with additional postural
                  limitations.[54] The opinions are generally consistent with the overall
                  medical evidence of record and are given great weight.

           [R81 (internal citations omitted)].

           V.     STANDARD FOR DETERMINING DISABILITY


                  54
                        The ALJ’s decision does not discuss these records. [R72-81].

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                  An individual is considered disabled for purposes of disability benefits if he is

           unable to “engage in any substantial gainful activity by reason of any medically

           determinable physical or mental impairment which can be expected to result in death

           or which has lasted or can be expected to last for a continuous period of not less than

           12 months.”     42 U.S.C. §§ 423(d)(1)(A), 1382c(a)(3)(A).         The impairment or

           impairments must result from anatomical, psychological, or physiological abnormalities

           which are demonstrable by medically accepted clinical or laboratory diagnostic

           techniques and must be of such severity that the claimant is not only unable to do

           previous work but cannot, considering age, education, and work experience, engage in

           any other kind of substantial gainful work that exists in the national economy.

           42 U.S.C. §§ 423(d)(2)-(3), 1382c(a)(3)(B), (D).

                  The burden of proof in a Social Security disability case is divided between the

           claimant and the Commissioner. The claimant bears the primary burden of establishing

           the existence of a “disability” and therefore entitlement to disability benefits.

           See 20 C.F.R. §§ 404.1512(a), 416.912(a). The Commissioner uses a five-step

           sequential process to determine whether the claimant has met the burden of proving

           disability.   See 20 C.F.R. §§ 404.1520(a), 416.920(a); Doughty v. Apfel,

           245 F.3d 1274, 1278 (11th Cir. 2001); Jones v. Apfel, 190 F.3d 1224, 1228

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           (11th Cir. 1999). The claimant must prove at step one that he is not undertaking

           substantial gainful activity. See 20 C.F.R. §§ 404.1520(a)(4)(i), 416.920(a)(4)(i). At

           step two, the claimant must prove that he is suffering from a severe impairment or

           combination of impairments that significantly limits his ability to perform basic

           work-related activities. See 20 C.F.R. §§ 404.1520(a)(4)(ii), 416.920(a)(4)(ii). At

           step three, if the impairment meets one of the listed impairments in Appendix 1 to

           Subpart P of Part 404 (Listing of Impairments), the claimant will be considered

           disabled without consideration of age, education, and work experience.

           See 20 C.F.R. §§ 404.1520(a)(4)(iii), 416.920(a)(4)(iii). At step four, if the claimant

           is unable to prove the existence of a listed impairment, he must prove that his

           impairment        prevents      performance        of    past    relevant      work.

           See 20 C.F.R. §§ 404.1520(a)(4)(iv), 416.920(a)(4)(iv). At step five, the regulations

           direct the Commissioner to consider the claimant’s residual functional capacity, age,

           education, and past work experience to determine whether the claimant can perform

           other work besides past relevant work.         See 20 C.F.R. §§ 404.1520(a)(4)(v),

           416.920(a)(4)(v). The Commissioner must produce evidence that there is other work

           available in the national economy that the claimant has the capacity to perform.




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           Doughty, 245 F.3d at 1278 n.2. To be considered disabled, the claimant must prove an

           inability to perform the jobs that the Commissioner lists. Id.

                   If at any step in the sequence a claimant can be found disabled or not disabled,

           the     sequential      evaluation      ceases     and     further     inquiry     ends.

           See 20 C.F.R. §§ 404.1520(a)(4), 416.920(a)(4). Despite the shifting of burdens at step

           five, the overall burden rests on the claimant to prove that he is unable to engage in any

           substantial gainful activity that exists in the national economy.               Doughty,

           245 F.3d at 1278 n.2; Boyd v. Heckler, 704 F.2d 1207, 1209 (11th Cir. 1983),

           superseded by statute on other grounds by 42 U.S.C. § 423(d)(5), as recognized in

           Elam v. R.R. Ret. Bd., 921 F.2d 1210, 1214 (11th Cir. 1991).

           VI.     SCOPE OF JUDICIAL REVIEW

                   A limited scope of judicial review applies to a denial of Social Security benefits

           by the Commissioner. Judicial review of the administrative decision addresses three

           questions: (1) whether the proper legal standards were applied; (2) whether there was

           substantial evidence to support the findings of fact; and (3) whether the findings of fact

           resolved the crucial issues. Washington v. Astrue, 558 F. Supp. 2d 1287, 1296

           (N.D. Ga. 2008); Fields v. Harris, 498 F. Supp. 478, 488 (N.D. Ga. 1980). This Court

           may not decide the facts anew, reweigh the evidence, or substitute its judgment for that

                                                       30


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           of the Commissioner. Dyer v. Barnhart, 395 F.3d 1206, 1210 (11th Cir. 2005). If

           substantial evidence supports the Commissioner’s factual findings and the

           Commissioner applies the proper legal standards, the Commissioner’s findings are

           conclusive. Lewis v. Callahan, 125 F.3d 1436, 1439-40 (11th Cir. 1997); Barnes v.

           Sullivan, 932 F.2d 1356, 1358 (11th Cir. 1991); Martin v. Sullivan, 894 F.2d 1520, 1529

           (11th Cir. 1990); Walker v. Bowen, 826 F.2d 996, 999 (11th Cir. 1987) (per curiam);

           Hillsman v. Bowen, 804 F.2d 1179, 1180 (11th Cir. 1986) (per curiam); Bloodsworth

           v. Heckler, 703 F.2d 1233, 1239 (11th Cir. 1983).

                 “Substantial evidence” means “more than a scintilla, but less than a

           preponderance.” Bloodsworth, 703 F.2d at 1239. It means such relevant evidence as

           a reasonable mind might accept as adequate to support a conclusion, and it must be

           enough to justify a refusal to direct a verdict were the case before a jury. Richardson

           v. Perales, 402 U.S. 389, 401 (1971); Hillsman, 804 F.2d at 1180; Bloodsworth,

           703 F.2d at 1239. “In determining whether substantial evidence exists, [the Court]

           must view the record as a whole, taking into account evidence favorable as well as

           unfavorable to the [Commissioner’s] decision.” Chester v. Bowen, 792 F.2d 129, 131

           (11th Cir. 1986) (per curiam). Even where there is substantial evidence to the contrary

           of the ALJ’s findings, the ALJ decision will not be overturned where “there is

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           substantially supportive evidence” of the ALJ’s decision.          Barron v. Sullivan,

           924 F.2d 227, 230 (11th Cir. 1991). In contrast, review of the ALJ’s application of legal

           principles is plenary. Foote v. Chater, 67 F.3d 1553, 1558 (11th Cir. 1995); Walker,

           826 F.2d at 999.

                   Also, a “court must consider evidence not submitted to the [ALJ] but considered

           by the Appeals Council when that court reviews the Commissioner’s final decision.”

           Ingram v. Comm’r of Soc. Sec. Admin., 496 F.3d 1253, 1258 (11th Cir. 2007). In

           reviewing this additional evidence, the court must evaluate whether this “new evidence

           renders the denial of benefits erroneous.” Id. at 1262. This means that the court must

           “determine whether the Appeals Council correctly decided that the ‘[ALJ’s] action,

           findings, or conclusion is [not] contrary to the weight of the evidence currently of

           record.’ ” Id. at 1266-67 (quoting 20 CFR 404.970(b)).

           VII. CLAIMS OF ERROR

                   Plaintiff’s over-arching claim is that the ALJ’s decision lacks substantial

           evidence because she failed to properly evaluate all of Plaintiff’s impairments and,

           consequently, rejected Plaintiff’s claims about her pain and limitations. [Doc. 11 at 1,

           4].    Plaintiff addresses this argument by more specifically referring to those




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           impairments and the manner in which the ALJ failed to properly evaluate them, so the

           Court will consider them in the order in which Plaintiff addressed them in her brief.

                 A.     Parties’ Arguments

                 Plaintiff contends that the ALJ rejected her “pain and limitations based on her

           erroneous assessment of [her] impairments — severe and nonsevere — and on

           impairments she found to be not medically determinable impairments, so her rationale

           for rejecting [her] statements of her limitations is not supported by substantial

           evidence.” [Doc. 11 at 5]. However, the only part of the decision Plaintiff points to is

           the ALJ’s determination, at step two, that Plaintiff alleged chronic kidney disease with

           lymphedema which was not in the record. [Id.].

                 The Commissioner responds that this is merely a semantic issue, as the ALJ

           properly stated there was no “chronic kidney disease” in the record and no actual

           diagnosis of kidney disease, merely a suggestion of it. [Doc 12 at 11]. Plaintiff replies

           that the Commissioner is splitting hairs, as the record reflects that she was discharged

           with “acute renal failure” and “possible chronic kidney disease.” [Doc. 13 at 4 (citing

           [R349])].

                 The Commissioner also contends that the ALJ found Plaintiff’s DVT, which

           “caused swelling in Plaintiff’s leg (lymphedema), was a medically determinable

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           impairment[.]”     [Doc. 12 at 12 (citing the Mayo Clinic’s online definition of

           Lymphedema as “swelling that generally occurs in one of your arms or legs.”)].

           Notably, neither the Commissioner nor the ALJ drew from any part of Plaintiff’s

           medical records showing that her DVT, in fact, caused her lymphedema. Plaintiff

           replies that the reasons given by the ALJ for rejecting this impairment as medically

           determinable are that it is not in the record and, to the extent that the ALJ incorrectly

           linked them as the same disease, her reasons for rejecting Plaintiff’s separate

           impairments of kidney disease and lymphedema are factually incorrect. [Doc. 13 at 5].

           Moreover, Plaintiff argues, it is inaccurate to equate DVT and lymphedema. [Id. at 5-

           6].

                   B.    Discussion

                         1.    ALJ Analysis of “Chronic Kidney Disease with Lymphedema”

                   The Court agrees that, as it presently reads, it is unclear whether the ALJ

           assessed Plaintiff’s lymphedema and chronic kidney disease as a single impairment or

           two, discrete ones, and whether that confusion caused her to conclude that they were

           not in the record or medically determinable impairments. The issue is not merely that

           the ALJ considered Plaintiff’s alleged impairments and concluded they were not severe.

           Rather, she determined that they are not medically determinable impairments at all

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           without any citation whatsoever to a record that is replete with discrete diagnoses of the

           same.55

                 At step two, the ALJ must determine if the claimant has any severe impairment.

           “This step acts as a filter; if no severe impairment is shown the claim is denied, but the

           finding of any severe impairment, whether or not it qualifies as a disability and whether

           or not it results from a single severe impairment or a combination of impairments that

           together qualify as severe, is enough to satisfy the requirement of step two.” Jamison

           v. Bowen, 814 F.2d 585, 588 (11th Cir. 1987) (citations omitted). However, even if an

           ALJ finds that an impairment is not severe, she is still required to include all of a

           claimant’s impairments, severe and nonsevere, in the RFC.                  See Jamison,

           814 F.2d at 588 (“The ALJ must consider the applicant’s medical condition taken as a

           whole.”) (citing Hudson v. Heckler, 755 F.2d 781, 785 & n. 2 (11th Cir.1985);

           Bloodsworth, 703 F.2d at 1240); Hooper v. Acting Comm’r of Soc. Sec.,


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                        By way of example, in September 2013, Plaintiff was referred to physical
           therapy specifically for treatment for lymphedema, [R397], and her progress in therapy
           was noted through 2013 and into October 2014, [R513]. Similarly, in August 2013,
           Plaintiff was diagnosed with acute renal failure with possible underlying kidney
           disease, [R384]; in March 2014, an unspecified kidney and ureter disorder were
           mentioned as past diagnoses, [R465]; and after varying INR levels, in January 2015,
           she was diagnosed with “some renal insufficiency, but not to the point that it should
           generate” the high potassium levels it did in her recent emergency room visit, [R560].

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           No. 616CV1978ORL41PDB, 2018 WL 1216089, at *8 (M.D. Fla. Feb. 12, 2018)

           (“Though an ALJ need not identify all impairments that should be severe at step two,

           she must demonstrate she considered all of the claimant’s impairments—severe and

           non-severe—in combination in assessing a claimant’s RFC.                      20 C.F.R.

           § 404.1545(a)(2).”), report and recommendation adopted sub nom. Hooper v. Comm’r

           of Soc. Sec., No. 616CV1978ORL41PDB, 2018 WL 1183347 (M.D. Fla. Mar. 7, 2018).

                 Here, the ALJ determined Plaintiff had severe impairments, albeit not “chronic

           kidney disease with lymphedema[,]” and proceeded to step three, to determine if any

           of Plaintiff’s impairments or combination thereof, severe or not, constituted a disability.

           [R74]. However, whether the ALJ understood and analyzed “chronic kidney disease

           with lymphedema” as a single impairment or two separate impairments is crucial

           because, in evaluating lymphedema and whether it meets or medically equals a listing,

           the Commissioner

                 will evaluate lymphedema by considering whether the underlying cause
                 meets or medically equals any listing or whether the lymphedema
                 medically equals a cardiovascular listing, such as 4.11, or a
                 musculoskeletal listing, such as 1.02A or 1.03. If no listing is met or
                 medically equaled, we will evaluate any functional limitations imposed by
                 your lymphedema when we assess your residual functional capacity.

           20 C.F.R. pt. 404, subpart P, app. 1 §§ 4.00G, 4.04B.



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                 While it is not necessarily error for the ALJ to find that Plaintiff’s lymphedema

           was not medically determinable or find it non-severe, it was error for her to make these

           findings without sufficient specificity to show the Court that she understood what

           impairments Plaintiff was alleging and correctly analyzed all Plaintiff’s impairments

           at step three. “While an ALJ is not required to discuss every piece of evidence on the

           record, [s]he must nonetheless ‘develop a full and fair record,’ which, at least, means

           that h[er] opinion must describe h[er] analysis with enough detail to satisfy a reviewing

           court that [s]he gave all relevant evidence before h[er] its due regard.” Day v. Berryhill,

           No. 1:17-CV-252-WSD, 2018 WL 564480, at *3 (N.D. Ga. Jan. 26, 2018)

           (Duffey, J., adopting Salinas, M.J.) (quoting Reed v. Astrue, No. 09-0149-KD-N,

           2009 WL 3571699, at *2 (S.D. Ala. Oct. 26, 2009)) (quotation marks altered); see also

           Bagley v. Astrue, No. 3:08-cv-591-J-JRK, 2009 WL 3232646, at *8 (M.D. Fla.

           Sept. 30, 2009) (“Although there is no rigid requirement that the ALJ specifically refer

           in his or her decision to every piece of evidence, the ALJ’s decision cannot broadly

           reject evidence in a way that prevents meaningful judicial review.”) (citing Dyer,

           395 F.3d at 1211). As a result, there is confusion concerning how and whether the ALJ

           interpreted Plaintiff’s lymphedema as a discrete condition at step two, and, on the basis




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           of this incorrect interpretation, subsequently improperly analyzed Plaintiff’s

           impairments at steps three56 and four.57

                 The Commissioner attempts to explain the ALJ’s conclusions by asserting,

           without any citation to the record whatsoever, that the ALJ’s confusion was harmless

           error because Plaintiff’s lymphedema is merely a symptom of her DVT, rather than a

           discrete condition. [Doc. 12 at 12].        First, this is an impermissible post hoc

           rationalization. See Owens v. Heckler, 748 F.2d 1511, 1516 (11th Cir. 1984) (“We

           decline . . . to affirm simply because some rationale might have supported the ALJ’s

           conclusion. Such an approach would not advance the ends of reasoned decision

           making.”). Second, and more problematically, the record shows no factual support

           whatsoever for the assertion that Plaintiff’s lymphedema was implicitly considered in

           conjunction with her DVT. As a result, the Court cannot say that the ALJ “describe[d]

           h[er] analysis with enough detail to satisfy a reviewing court that [s]he gave all relevant

           evidence before h[er] its due regard.” Day, 2018 WL 564480 at *3.


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                         The ALJ concluded that Plaintiff did not meet or medically equal a Listing
           and that she could perform light work except she could only frequently overhead reach
           with her dominant arm. [R75].
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                       The ALJ concluded that Plaintiff could perform her past relevant work,
           based on VE testimony that confirmed she could if she had the RFC assigned by the
           ALJ. [R81].

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                        2.    ALJ Reliance on Non-Examining Sources

                 In addition, the Court observes that the ALJ relied exclusively on the opinions

           of non-examining, state agency physicians, in reaching the RFC determination. [R81].

           While the ALJ may confer greater weight to the opinions of non-examining sources,

           those opinions, by themselves cannot constitute substantial evidence. Edwards v.

           Sullivan, 937 F.2d 580, 584 (11th Cir. 1991); see also Kemp v. Astrue,

           308 Fed. Appx. 423, 427 (11th Cir. Jan. 26, 2009) (per curiam). However, “the opinion

           of a non-examining physician who has reviewed medical records may be substantial

           evidence if it is consistent with the well-supported opinions of examining physicians

           or other medical evidence in the record.”           Hogan v. Astrue, Civil Action

           No. 2:11cv237-CSC, 2012 WL 3155570, at *5 (M.D. Ala. Aug. 3, 2012) (harmonizing

           Eleventh Circuit cases); see also SSR 96-2p, 1996 WL 374188. Here, the ALJ

           explained that she gave these opinions great weight because they were supported by the

           other evidence in the record. [R81]. However, as previously discussed, the ALJ did

           not clearly or completely analyze Plaintiff’s impairments at steps two and three, so her

           blanket reliance on other medical evidence in the record, without any consultative

           examinations, is erroneous.




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                 Here, the Commissioner argues that this is harmless error because the ALJ

           concluded that Plaintiff’s conditions were synonymous. [Doc. 12 at 12]. However, the

           ALJ did not articulate this conclusion, nor did the ALJ cite to any medical sources that

           did. Assuming the ALJ implicitly found that Plaintiff’s lymphedema and DVT are the

           same, that is a medical determination reached without any supporting citation and

           without the support of any examining medical source. “In carrying out h[er] duty to

           conduct a full and fair inquiry, the ALJ is required to order a consultative examination

           when the record establishes that such an examination is necessary to render an informed

           decision. . . Additional medical evidence may be required in order to obtain more

           detailed medical findings about the claimant’s impairment(s), to obtain technical or

           specialized medical information, or to resolve conflicts or differences in the medical

           findings already available. If the claimant’s treating physician could not provide an

           opinion as to the claimant’s functional limitations, then the ALJ should have ordered

           a consultative examination rather than rely on the opinions of non examining

           physicians.” Rease v. Barnhart, 422 F. Supp. 2d 1334, 1374 (N.D. Ga. 2006) (internal

           citations omitted); Fontanez ex rel. Fontanez v. Barnhart, 195 F. Supp. 2d 1333, 1355

           (S.D. Fla. 2002) (ALJ erred in not obtaining a medical source statement from any of the

           consultants who actually examined the claimant); Hernandez v. Barnhart,

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           203 F. Supp. 2d 1341, 1355 (S.D. Fla. 2002) (“the ALJ erred in not obtaining a medical

           source statement from the consultants who actually examined Plaintiff. . . Therefore,

           it appears, as Plaintiff suggests, that the ALJ may have improperly “played the role of

           medical expert, interpreted the raw psychological and medical data, and drew her own

           conclusions as to the claimant’s RFC.”); see also Marbury v. Sullivan, 957 F.2d 837,

           840-41 (11th Cir. 1991) (per curiam) (Johnson, J., concurring) (observing that since “the

           ALJ made no factual findings supporting an inference that the treating physicians were

           incompetent or otherwise failed to perform their duties in a professional manner, the

           ALJ’s decision not to credit seriously the[ir] medical diagnoses . . . cannot stand.

           Although the ALJ could have legitimately discounted the diagnoses, he could have

           done so only if he had clearly articulated his reasons for such action. Moreover, the

           ALJ’s proffered reasons for discounting the diagnoses had to be supported by

           substantial evidence. In this case, the ALJ has not articulated any valid reasons for

           calling into question the diagnoses—much less supported his medical conclusions with

           substantial or considerable evidence. Although Social Security disability benefits must

           be reserved only for those who qualify to receive them, an ALJ may not arrogate the

           power to act as both judge and physician. . . On remand, let us hope that the ALJ

           refrains from playing doctor and instead satisfies himself with merely serving as a

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           judge.”) (internal citations omitted); Cole-Smith v. Astrue, 2:11-CV-2857-VEH,

           2012 WL 1946766, at *6-7 (N.D. Ala. May 29, 2012) (acknowledging “that the ALJ

           did refer within his opinion to a host of records from various medical providers . . .

           However, for the most part, such documentation is reported merely as raw physical

           findings . . . none of these records includes an opinion about the impact of [Plaintiff’s]

           impairments in vocational terms or attaches a physical capacities evaluation of her. . .

           a lay person such as an ALJ is not able to discern [Plaintiff’s] . . . work-related

           exertional abilities and appropriate non-exertional restrictions based upon the unfiltered

           information    contained    in   her   medical    records.”);   Rogers    v.   Barnhart,

           No. 3:06-CV-0153-JFG, (N.D.Ala. Oct. 16, 2006) (“While the Record contains

           [Plaintiff’s] medical treatment history, it lacks any physical capacities evaluation by a

           physician. The ALJ made his residual functional capacity evaluation without the

           benefit of such evaluation. An ALJ is allowed to make some judgments as to residual

           physical functional capacity where so little physical impairment is involved that the

           effect would be apparent to a lay person. In most cases, including the case at bar, the

           alleged physical impairments are so broad, complex, and/or ongoing that a physician’s

           evaluation is required. In order to have developed a full, fair record as required under

           the law, the ALJ should have re-contacted [Plaintiff’s] physicians for physical

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           capacities evaluations and/or sent her to physicians for examinations and physical

           capacities evaluations.”).

                 Here, because (1) it is unclear if the ALJ’s decision considered all of Plaintiff’s

           impairments, and (2) the ALJ relied on non-examining medical opinions, the Court

           cannot say that her decision was supported by substantial evidence. Accordingly, the

           Court REVERSES and REMANDS the case so that the Commissioner can:

           (1) consider and evaluate all of Plaintiff’s impairments, severe and non-severe; and

           (2) if necessary, recontact Plaintiff’s treating physicians and/or order a consultative

           examination in order to have a basis to formulate a complete RFC.

           VIII. CONCLUSION

                 In conclusion, the final decision of the Commissioner is REVERSED and

           REMANDED to the Commissioner for further consideration of Plaintiff’s claims

           consistent with this Order and Opinion.

                 The Clerk is DIRECTED to enter judgment for Plaintiff.

                 IT IS SO ORDERED and DIRECTED, this 20th day of September, 2018.




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